 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastem District of Wisconsin

ln the Matter of the Search of:

the person of Paul Anderson (DOB XX/XX/ 1999)

CaseNo. \%"cl§q M \/N'j\

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APPLICATION FOR A SEARCH WARRANT
l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

the person of Paul Anderson (DOB XX/XX/ 1999)

located in the Eastern District of Wisconsin, there is now concealed:

Saliva and epithelial cells to be taken via a buccal swab

The basis for the search under Fed. R. Crim P. 4l(c) is:
§ evidence of a crime;
l:| contraband, fruits of crime, or other items illegally possessed;
l:| property designed for use, intended for use, or used in committing a crime;
l:l a person to be arrested or a person who is unlawfully restrained

The search is related to violations of: Title 18, U.S.C. §§ 2119(1) and 924(c)

The application is based on these facts: See attached affidavit

l:l Delayed notice of days (give exact ending date if more than 30 days: ) is'requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

/ Applicant ’s signature

TFO Matthew Gibson, FBI
Printed Name and Title

Sworn to efore me and signed in my presence: ‘ %K'/ W/
Date: ?\/

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AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT

 

I, MattheW Gibson, being first duly sworn on oath, on information and belief state:
I. INTRODUCTION, BACKGROUND, TRAINING, AND EXPERIENCE:

l. l make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search Warrant to collect an oral swab of DNA
from Paul E. Anderson, black male, (DOB: XX/XX/1999).

2. I have over 24 years of experience as a law enforcement officer and am
currently assigned to the Milwaukee FBI Violent Crime Tasl< Force as a Deputized
Federal Task Force Officer. l Was a Special Agent With the Federal Bureau of Investigation
for over 23 years and have been an Investigator With the Milwaukee County District
Attorney's Office since ]une of 2015. l have participated in numerous complex narcotics,
money laundering, violent crime, armed bank robbery, and armed commercial robbery
investigations in violation of Title 21, United States Code, Sections 841(a)(1), 843(b) and
846, and Title 18, United States Code, Sections 924(c), 1951, 1956, 1957, 2113, 2119 and
other related offenses. I have employed a Wide variety of investigative techniques in
these and other investigations, including but not limited to, the use of informants,
Wiretaps, cooperating defendants, recorded communications, search Warrants,
surveillance, interrogations, public records, DNA collection, and traffic stops. I have also
received formal training regarding the same. As a Federal Task Force Officer, l am
authorized to investigate violations of laws of the United States and to execute Warrants

issued under the authority of the United States.

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3. Based on my training and experience, I believe there is probable cause that
Asia S. Rogers, Okeefer D. Hooker, and Paul E. Anderson, committed the armed motor
vehicle robbery (carjacking) in violation of Title 18, U.S.C. §§ 2119(1) (Carjacking), 924(c)
(use of firearm), and 2 (aiding and abetting).

4. This affidavit is based upon my personal knowledge and information
reported to me by other federal, state, and local law enforcement officers during the
course of their official duties, all of whom I believe to be truthful and reliable. This
affidavit is also based upon police reports, subpoenaed records, cooperating citizen
Witnesses statements, Wisconsin State Crime Laboratory reports, Wisconsin Departrnent
of Transportation (WDOT) records, consent searches, cooperating defendant statements,
search warrants, recorded statements, and public records that I consider to be reliable as
set forth herein.

5. Because this affidavit is submitted for the limited purpose of a obtaining a
search warrant, I have not included each and every fact known to me concerning this
investigation I have attempted to set forth only the facts that I believe are pertinent to
establishing the necessary foundation for the warrant,

II. PROBABLE CAUSE

6. On August 15, 2018, at approximately 3:05 p.m., the victim parked her
vehicle, a dark blue 2014 Toyota Rav4 bearing Wisconsin license plate 851-YXG at 5919
North 61st Street. The victim saw two black males and one black female walking south
on the eastside of the street. The victim exited the car and walked to the east side of the
street. When the subjects were close to the victim one of the males demanded her car

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keys. The victim turned to face the subject and saw him pointing a black semi-automatic
pistol at her head. The victim gave the keys to the subject and the victim fled on foot while
the subjects took the vehicle. The victim's iPhone and gray Michael Kors wallet Were in
the car when it Was stolen. The victim described the three subjects to responding police
officers. Subject#l was described as a black male, approximately 5’9” tall, early 20's,
approximately 150 pounds, slim build, with a low haircut or possibly bald head, wearing
a black t-shirt, blue jeans, and armed With a black semi-automatic pistol. Subject#2 was
described as a black male, wearing a dark t-shirt, and possibly dark pants. Subject#3 was
described as a black female, heavier set, With long hair, wearing a yellow and possibly
orange t-shirt and possibly blue jeans.

7. Surveillance video from a doorbell camera from a residence at 5919 N. 61st
Street shows two black males and a black female Wearing clothing that matched the
description provided by the victim Walking in the area immediately prior to the armed
robbery / carjacl<ing.

8. Officers obtained information that allowed them to track the stolen Rav4.
At approximately 3:45 p.m., officers observed the vehicle parked in the area of 10th and
Clarl< Streets in Milwaukee bearing license plate ACF1693 and a heavy set black female
Wearing yellow clothing and carrying a purse enter the passenger side of the vehicle, The
vehicle then drove off and officers lost sight of the vehicle,

9. At approximately 4205 p.m., officers located the Rav4 parked unoccupied in
front of 1940 South 32nd Street, Milwaukee. Officers observed a black female wearing a
yellow shirt and a black male wearing a dark shirt Walking away from the area where the

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car was parked. They fit the description of the robbery suspects and the female appeared
to be the same woman seen getting into the Rav4 at approximately 3:45 p.m.

10. At approximately 4210 pm, Milwaukee Police Officers stopped Asia S.
Rogers and Okeefer Hooker at 1931 South 33rd Street. As officers approached, Rogers
was holding a cell phone and dropped a tan purse. Next to Rogers' purse, officers located
the carjacking victim's gray Michael Kors wallet. Inside Rogers' purse, officers recovered
a loaded Taurus PT111 Millennium G2 9mm pistol with an extended clip and a gray
Apple l-Phone With a broken screen in a black case. Although the Rav4 was locked,
officers were able to see Hooker’s Wisconsin State ldentification Card on the seat through
the window. A citizen witness advised that a third subject was seen just prior to Hooker
and Rogers being stopped.

l l. Surveillance video from a nearby business captured a third subject running
in the alley just prior to Hooker and Rogers being stopped by the police. The third subject
was not located however a wet blue Gucci t-shirt was recovered along the suspected path
this subject took. The shirt was submitted to the Wisconsin State Crime Lab for DNA
analysis. The surveillance video also captured Hooker and Rogers being stopped by the
MPD and Rogers dropping her purse where officers subsequently recovered it.

12. The Rav4 was processed for evidence. Hooker’s fingerprint was recovered
from the front driver’s side door.

13. On October 1, 2018, Magistrate ]udge William Duffin authorized the search

of the two cell phones recovered when Rogers and Hooker were arrested.

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14. A review of the downloaded data from the blue Metro PCS Alcatel flip style
cellular telephone located a video of a subject in the front passenger seat of a vehicle
holding a firearm which appears to be the same weapon seized from Rogers’ purse. The
subject holding the firearm appears to be Paul Anderson. Anderson removed the
extended magazine from the handgun and a cartridge is visible in the magazine

15. The Wisconsin State Crime Lab identified Paul Anderson’s DNA on the
blue Gucci t-shirt.

16. On November 27, 2018, an MPD Detective displayed a photo array
containing a photograph of Paul E. Anderson, to the victim to the above-described armed
carjacl<ing. The victim identified Anderson as the gunman in the armed carjacl<ing.

17. Law enforcement identified Hooker's Facebool< page as username "O'Keefe
Wrong Doer" and Anderson’s Facebook page as username ”LilHavz Grindhard
ShineHard." A review of the publicly available information available on these Facebool<
pages revealed evidence further linking Hooker and Anderson to the carjacking
described above.

18. On August 12, 2018, three days before the carjacl<ing, a picture Was posted
on Hooker’s Facebook depicting Hooker and Anderson in a vehicle. In that photograph,
Anderson is wearing what appears to be the same blue Gucci shirt recovered on the
believed flight path of the third subject.

19. A video posted on Hooker’s Facebool< page shows Hooker and Anderson
in a residence. Hooker has an extended handgun clip protruding from his front pants
pocket. The clip appears to be the same as the handgun clip recovered from Rogers’ purse.

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In addition, in the video, Anderson is wearing what appears to be the same blue Gucci
shirt recovered on the believed flight path of the third subject.

l7. Based on my training and experience, l know that by comparing the DNA
collected from distinct items believed to be worn or touched during a robbery with the
DNA of the suspected robbers, it is possible to determine whether an individual
suspected of robbery is likely to be the person who wore or touched an item in connection
with the robbery. In this case a previously obtained DNA profile of Anderson was
matched to the DNA profile from the blue Gucci shirt. Wisconsin State Crime Lab policy
is to obtain the subject's DNA sample in order to confirm the matching profiles.

18. Your affiant intends that a buccal swab DNA kit be used to obtain the DNA
exemplar from Anderson. Your affiant and / or another law enforcement officer involved
in this investigation will secure the exemplar by swabbing the inside of Anderson’s
mouth for saliva and cells until an adequate sample is obtained.

III. CONCLUSION

l9. Based upon the aforementioned, l submit there is probable cause to believe
that by taking an oral swab of the inside of Paul Anderson’s mouth, there may now be
found DNA that is evidence of the crime of robbery including: DNA confirming
Anderson’s DNA matches the DNA profile taken from the blue Gucci t-shirt worn by the

subject in the above-described offense.

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